UNITED STATES DISTRICT CGURT
DISTRICT OF CONNECTICUT

 

JOHN R. WHINFIELD, ' Civil Action No.:

 

Plaintiff,
vs.

CAPITAS DISTRIBUTORS, INC.,

 

 

Defendant. May 30, 2012
NOTICE OF REMOVAL
TO: Clerk of the District Court Civil Clerk’s Off`lce
U.S. District Court Superior Court
District of Connecticut Judicial District of Hartford
450 Main Street 95 Washington Street
Hartford, CT 06103 Hartford, CT 06106

James G. Green

Jenifer E. Wheelock

McElroy, Deutsch, Mulvaney & Carpenter, LLP

One State Street

14th Floor

Hartford, CT 06103

PLEASE TAKE NOTICE that Dcfendant Capitas Distributors, Inc. removes this action
to the United States District Court for the District of Connecticut pursuant to 28 U.S.C § 1332(a)
and (c), § 1441(a), § 1446(a), (b) and (d). The grounds for removal are as follows:

1. Plaintiff John R. Whinfleld commenced this`action on May 1, 2012, in the
Superior Court for the J udicial District of Hartford at Hartford by Serving Capitas Distributors,

Inc. With a Summons and Complaint.

MEI 13496195v.1
48326.1

2. Attached hereto as Exhibit A are true and correct copies of the Summons and
Complaint.

3. No further proceedings have taken place in this action since receipt of the
Summons and Complaint by Capitas Distributors, lnc.

4. As set forth in the Cornplaint prepared by his counsel, Plaintiff John R. Whinfleld
is andeas, at the commencement of this action an adult residing in Cheshire, Connecticut. He,
therefore, is a resident, domiciliary and citizen of the State of Connecticut and no other state.

5. Defendant Capitas Distributors, lnc. is and was, at the commencement of this
action, a Delaware corporation with its principal place of business located in Coon Rapids,
Minnesota. Thus, Capitas Distributors, Inc. is a citizen of the states of Delaware and Minnesota,
and not Connecticut.

6. ~ Defendant brings this Notice Of Removal pursuant to 28 U.S.C. § 1441.

7. 28 U.S.C. § 1441 provides the basis for removal jurisdiction of this Court in this
action. That section provides, in pertinent part, as follows:

. any civil action brought in a State court of Which the district courts of the

United States have original jurisdiction, may be removed by the defendant... to the

district court of the United States for the district and division embracing the place

Where such action is pending.

8. The state action herein is Within the original jurisdiction of this Court based upon
diversity of citizenship jurisdiction pursuant to 28 U.S.C. §1332, Which provides, in pertinent
part, as follows:

(a) The district courts shall have original jurisdiction of all civil actions Where

the matter in controversy exceeds the sum or value of $75,000.00,
exclusive of interest and costs, and is between -

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(1) citizens of different States,

(c) For the purpose of this section and section 1441 of
this title - ` '

(1) A corporation shall be deemed to be a citizen of any State by

which it has been incorporated and of the State where it has its
principal place of business

9. As set forth herein, Whinfield is a citizen of the state of Connecticut. As also is
set forth herein, Defendant Capitas Distributors, Inc. is a citizen of the states of Delaware and
Minnesota. Therefore, complete diversity of citizenship exists between the parties.

10. The amount in controversy sought is believed to be in excess of $75,000.00 in
damages In paragraph 16 of the Cornplaint, attached hereto as Exhibit A, Plaintiff alleges he
has suffered damages of $111,0()0.00. Plaintiff is also seeking additional damages of an
unknown amount for “profit calculations.”

ll. This Notice of Removal is timely because it has been filed within thirty (3 ()) days
after Defendant Capitas Distributors, Inc. received a copy of the Summons and Complaint. 28
U.S.C. § 1446(b).

12. The underlying state court action is one that may be removed to this Court by the
defendant pursuant to the provisions of 28 U.S.C. § 1441 because the matter in controversy
exceeds the sum or value of $75,000 and is between citizens of different states.

13. The district embracing the place where such action is pending is the United States
District Court for the District of Connecticut. See 28 U.S.C. § l44l(a).

l 14. Removal from the state court to the federal court is appropriate pursuant to the

provisions of 28 U.S.C. §§1441(a) and 1446(d).

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15. Defendant submits this Notice without waiving any defenses to the claims
asserted by Plaintiff or conceding that Plaintiff has pleaded claims upon which relief may be
granted

16. Defendant is filing contemporaneously with this Notice of Removal, a copy of
this Notice with the Clerk of Courts, District of Hartford, Connecticut. l A copy of Defendant’s
Notice of Filing of Removal, filed with the Clerk of Courts, Judicial District of Hartford at
Hartford, Connecticut is attached hereto as Exhibit B.

WHEREFORE, Defendant, having provided notice as required by law, now removes the
above-captioned action from the Superior Court for the Judicial District of Hartford at Hartford

to the United States District Court for the District of Connecticut.

DATED this 30th day of May, 2012.

MEI 13521734v.l

MEl 13521734V.1

ATTORNEYS FOR DEFENDANT
CAPITAS DISTRIBUTORS, INC.

M%A(--\

Pamela J. Moore (CT 08671)
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Email: kgallagher@mccarter.com

Natalie Wyatt-Brown (Minn. Bar. No. 260757)
(application for admission pro hac vice pending)
HALLELAND HABICHT, P.A.

33 South Sixth Street, Suite 3900

Minneapolis, MN 55402

Telephone: 612-836-5510

Email: nwyatt-brown@hallelandhabicht.com

CERTIFICATE OF SERVICE
This is to certify that a copy of the foregoing has been sent via U.S. mail, postage pre--
paid, this 30"‘ day of May to:

James G. Green

Jenifer E. Wheelock

McElroy, Deutsch, Mulvaney & Carpenter, LLP
One State Street

14th Floor

Hartford, CT 06103

/%¢r/%J»-\

Kelly@{ns Gallagher

 

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, EXHIBIT A

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SUNJNIONS - ClVlL ' sTATE'oF coNNEcTicuT
JD~CV~1 Rev..6-11 SUPER|OR COURT See page 2 for instructions

c e.s. §§ 51-346, 51-347, 51.349, 51.350, 52-453, -
52-48, 52~259, P_s. secs 3-1 through 3-21, a-i WWW-/Ud'°t~g°\’

TO'. Any proper officer; BY AUTHOR|TY' Ol-' THE

:} "X" ifamount. legal interest or property in demand, not including interest and

` elgst jS less than $2'500 _ STATE OF CONNECT|CUT, you ar@ hereby

§§ "X" if amount, legal interest or property in demand, not including interest and commanded to make due and legal service of
COSIS lS_ $2.500 Of mOFe- this Summons and attached Complaint.

|:l "X" if'claiming other relief in addition to or in lieu of money or damages

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Address of court clerk where writ and other papers shall be filed (Number. street, town and zip code) Telephone number of clerk (with Return Date (Must be a Tuesciay)
(C¢G.S. §§?5_1-346, 51-350) area ccde) -
95 washington street Hanrord, cr 06106 ' ` (360 )548-2700 May _ 29 . 2 012
Month 'UFV“ Year
;Z] Juq'i¢ia| District At (T own in which writ is returnab/e) (C.G.S. §§ 51-346, 51-349) Case type code (See list on page 2)
l _ v G.A. .
;::l Housing Session l::| Number; Ha\’h°Ord Major: C Mmor: 90
For the Plaintiff(s) please enter the appearance of:
Name and address of attorney, law firm or plaintiff il selt»represented (Number, street. town and zip code) Juris number (io be entered by airorney on/y,‘
McElroy, Deutsch, Mulvaney 8 Carpenter, LLP, One State Street, 14th Fl., Hartford, CT 06103 101812
Telephone number (with area codg), ‘r .i Signalure of Plaintiff (IfselI-represented)
(860 ) z52_2-5175 l : -
Number;o'f§:Plaintitfs: `1 Number of Defendants:u 11 . [:] Form JD~CV-2 attached for additional parties
Partie's Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O, Box; Town,' State,' Zip; Country, if not USA)
First Name= John R. Whinfield p_(
Plaintiff Address: 271 Preston'Terrace, Cheshi__re, CT 06410
Addiuonai Name: P-t
Plaintiff A°'d'ess'
F-,,st Name: Ca itas Distril_)utors, lnc. ' D~¢
l Defendant Address= 20 Coon Rapids Boulevard, NW, Suite 300, Minneapolis, MN 55433; c/o Agent for Service: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmirlgton, DE 19801

 

 

 

: Additional Name; D_`
l Defenqant Address,
i . .- v ‘ Name' D'
l Additional - '
li Defendant Address_
i' D-

- - ' Name:
Additional
Defendant Address.

 

 

Notice to Each'Defendant

t. YOU, ARE BElNG SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making

against'you in this lawsuit. ` '

2. To be`notified of further proceedings you or your attorney must file a form called an "Appearance" with the clerk of the above-named Court at the above
Court address on or before the second day after the above`Return Date. The Return Date is not a hearing date. You do not have to come to court on the
Return Date unless you receive a separate notice telling you to come to court.

. lt you ~or.your attorney do not file a written ”Appearance" form on time, a judgment may be entered against you by default The "Appearance“ form may be
obtained at the Court address above or at www.jud.ct.gov' under "Court Forms."

4. lf you believe that you have insurance that may cover the claim that is being made against you in this lawsuit, you should immediately contact your
. insurance representative Other action you may have to take is described in the Connecticut Practice Book which may be found in a superior court law

library or on-line at www.jud.ct,gov under “Court Rules."

5. lf you have questions about the Summons and Complaint. you should talk to an attorney quickly. The Clerk of Court is not allowed to give advice on

' legal questions 1

bd

 

Signeo (Si 'n "X" proper box) 7 >( Commissioner of the Name of Person Signing at Left Date signed
' . _ Superior Court
' ,' LM ~ A/\ Assistant Clerk Jame$ G' Green) J"' 04/26/2012

 

 

 

 

 

lf this ib?(mons is signed by a"`Clerk:‘ 4 FOr COUIt US€ On/y
a. The ghing has been done-so that the Plaintiff(s) will not be denied access to the courts. F»le Date

b. lt is the responsibility of the Plaintiff(s) to see that service is made in the manner provided by law.
c. The Clerk is not permitted to give any legal advice in connection with any lawsuit. 4
d_ The Clerk signing this Summons at the request of the Plaintiff(s) is not responsible in any way for any errors or omissions

in the;$ummons, any allegations contained in the Complaint, or the service of the Summons or Complaint.

 

| Cenify` |,have read-and Signed (Self~Represented Plaintift) f_ Date
understand the above: - \_f

 

 

Name and address of person recognized to prosecute in the amount`of $25'9
Liza Aponte//Qne State Street, 14th §lcor, Hartford, CT 06103

 

 

 

 

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Signed (Offic' lta in recognizance; " ”prope ox Commissioner of the Date Docket Numt)er
` 65 S“”e“°‘ C°“" 04/26/2012
~ ’ /. g Assistant Clerk

RETURN DATE: MAY 29, 2012 : SUPERIOR COURT

JOHN R. WHINFIELD JUDICIAL DISTRICT OF HARTFORD
VS. AT HARTFORD
CAPITAS DISTRIBUTORS, INC. APRIL 26, 2012

COMPLAINT

Count One (Breach of Employment Agreement)

1. At all relevant times hereto, the plaintiff John R. Whinfleld (“Whinfield”), is
an individual residing at 271 Preston Terrace, Cheshire, Connecticut '06410.

2. At all relevant times hereto, the defendant Capitas Distributors, Inc. (“CDI”),
is a corporation organized and existing under the laws of the State of Delaware, with a
business address located at 200 Coon Rapids Boulevard, NW, Suite 300, Minneapolis,
Minnesota 55433.

3. CDI is a distribution company that focuses on life insurance sales in financial
institutions CDI employs insurance point-of-sale professionals (e.g., Sales Vice
Presidents) working primarily in the institutional marketplace

4. On or about August 11, 2010, Whinfield commenced employment with CDI,
in the capacity of Sales Vice President, and was responsible for selling life insurance
products on behalf of CDI.

5. Prior to commencing employment, Whinfield entered into a Sales Vz`ce
President Employment Agreement (“Employment Agreement”) with CDI on August 5,
2010. The Employment Agreement set forth terms under which Whinfield was to be paid

commissions earned and allotted monthly business expenses

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6. On or about November 1, 2011 Whinfield sold insurance policies to
Alfred Lenoci, Sr. and Alfred Lenoci, Jr. (the “Lenoci cases”) and became entitled to a
commission on each case pursuant to 1[ 2.1 of the Employment Agreement.

7. Paragraph 2.1 of the Employment Agreement reads as follows:
Commission.. CDI shall pay to the Employee at the end of each month a
commission payment (“Commission”) equal to the product of forty-five
(45%) of all Profits (as defined below) attributable to the Employee. For
purposes of this Agreement, the term “Profits” shall mean all revenue that
CDI receives from the Products sold by the Employee less the aggregate
amount of the Expenses (as defined in Section 2.3) paid to the Employee
during the then current calendar month. All Commission payments will be
paid to the Employee less regular deductions and withholdings

8. To date, CDI has failed to provide Whinfield with an accounting of the
revenue it received from the Lenoci cases in accordance with 11 2.1 of the
Employment Agreement.

9. To date, CDI has failed to perform profit calculations in relation to the
Lenoci cases in accordance with 1[2.1 of the Employment Agreement.

10.To date, CDI has failed to render commission payments due and owing
to Whinfield in relation to the Lenoci cases.

11. In addition, CDI contends that it is entitled to deduct from any
commissions paid on the Lenoci cases to Whinfield, all necessary business
expenses reimbursed to Whinfield in accordance with 11 2.1 of the Employment
Agreement. Monthly expenses are defined in ii 2.3(b) of the Employment Agreement
as “reimbursement payments from CDI for gas, phone, travel and entertainment

incurred in connection with the services provided pursuant to this Agreement.”

12. The aforementioned contention is contrary to the CDI expense policy as

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referenced in Whinfield’s July 4, 2010 offer of employment which provides that
during the first six months of Whinfield’s employment, he was to receive an expense
allowance at a fixed rate of $3,500.00.

13.Whinf1eld’s initial six month allowance, totaling $21,000.00, is not a
reimbursable expense.

14. Nevertheless, CDI is seeking to recoup from Whintield’s commissions on
the Lenoci cases $21,000.00 which it is not entitled to recover pursuant to the terms
of its offer of employment to Whinfield.

15. CDI is in breach of the Employment Agreement for its failure to pay
commissions to Whinfield on the Lenoci cases.

16. As a direct result of CDI’s breach of the Employment Agreement,
Whinfield has suffered damages in the amount of $111,000.00 which represents the
combined commissions he earned on the Lenoci cases less the aggregate amount of
expenses paid to Whinfield, not inclusive of the $21,000.00 allowance he was
provided
Count Two (Equitable Action for Accounting)

1.-15. The allegations of paragraphs 1-15 of Count One are incorporated
herein as paragraphs 1-15 of this Count Two as if fully alleged and set forth herein.

16. Whinfield is entitled to an accounting of revenue received by CDI
from the Lenoci cases, in accordance with ii 2.1 of the Employment Agreement, at
common law and pursuant to C.G.S. § 52-401.

17. In the accounting requested in the Count, Whinfield is entitled to

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profit calculations in accordance with 112.1 of the Employment Agreement.

18. Judicial settlement of the commissions owing to Whinfield, in
connection with the Lenoci cases, is necessary so that said commissions may be
distributed according to law.

Count Three (Declaratory Judgment - Restrictive Covenants Are Unenforceabl§)

1.-15. The allegations of paragraphs 1~15 of Count One are incorporated
herein as paragraphs 1-15 of this Count Three as if fully alleged and set forth herein.

16. The parties’ Employment Agreement contains restrictive covenants
regarding solicitation of business and competition in the marketplace

17. Paragraph 7 of the Employment Agreement contains non-solicitation covenants
which sets forth the following:

Non-Solicitation Covenants. In consideration of the amounts to be paid to
the Employer hereunder, the Employee covenants that the Employee shall,
during the term of this Agreement, and for two (2) years following the
termination or expiration of this Agreement, comply with the following
separate and independent covenants:

(a) The Employee will not, without CDI’s prior written consent, either
directly or indirectly, on the Employee’ s own behalf or in the service or
on behalf of others, solicit, divert, or appropriate, any person or entity
that was a National Account, a Regional Account or a registered
representative of a National Account or Regional Account of CDI during
the term of this Agreement.

(b) The Employee will not, without CDI’ s prior written consent, either
directly or indirectly, on the Employee’ s own behalf or in the service or
on behalf of others, solicit, divert, or hire away, or attempt to solicit,
divert or hire away, any person employed by CDI, Capitas or any affiliate
of CDI or Capitas, whether or not such person is full-time or a temporary
employee or agent and whether or not such employment or contractor
relationship is pursuant to a written agreement.

18. Paragraph 8 of the Employment Agreement contains a non-compete agreement

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which sets forth the following:
Non-Compete Agreement.

(-a) Definition. For purposes of this Section 8, the term “Competitive
Business” shall mean any business that, directly or indirectly, calls on,
solicits, acts as agent for, or attempts to provide Products or services
similar to those provided by CDI, Capitas or any other affiliate of CDI.

(b) Prohibition; Term. The Employee promises and agrees that if, during
the term of this Agreement and for six (6) months following the
termination or expiration of this Agreement, the Employee leaves the
employment of CDI for any reason or for no reason at a_ll, the
Employee shall not, directly or indirectly, as an individual, partner,
member, shareholder, director, officer, manager or any other
relationship or capacity whatsoever:

(i) engage in or otherwise be involved in any Competitive Business;

(ii) render any services or information to or otherwise assist any other
person, corporation, limited liability company, partnership, entity,
enterprise, business, trust or association including, without limitation,
an insurance company engaged in any Competitive Business; or

(iii) engage in or otherwise be involved in any activity which
interferes with or harms CDI’s and/or Capitas’ National Accounts or
Reg.ional Accounts. '

(c) Geographic Scope. The obligations of the Employee under this Section
8 shall apply to any geographic area in which CDI, Capitas, any other
affiliate of CDI: (a) has engaged in business during the term of this
Agreement whether by providing services or promoting, selling or
marketing such services or otherwise; or (b) has otherwise established
its goodwill, business_reputation or any customer or insurance carrier
relations.

(d) Consideration for Non-Compete. The Employee understands and
agrees that CDI’s offer of employment constitutes independent and
sufficient consideration for this non-compete provision. The Employee
acknowledges that the request for this non-compete provision was
made in the initial offer of employment that the Employee received
from CDI. Executive will not challenge the independent nature of
sufficiency of this consideration, either during the term of. the
Employee’s employment with CDI or at any time thereafter.

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19. The aforementioned restrictive covenants are overly broad.

20. Accordingly, this Court should declare these restrictive covenants unenforceable

21.The rights of the parties under this Agreement can only be determined by
declaratory judgment.

22. All persons having an interest in the subject matter of this dispute have been
` joined as parties to this action.

23.Whinfield seeks a declaration of his rights and the rights of CDI in connection
with these restrictive covenants contained within the Employment Agreement.
Count Four (Declaratory Judgment - Restrictive Covenants Are Non-Binding)

1.~18. The allegations of paragraphs 1-18 of Count Three are incorporated
herein as paragraphs 1-18 of this Count Four as if fully alleged and set forth herein.

19. CDI has materially breached the Employment Agreement.

20. Accordingly, this Court should declare that the aforementioned
restrictive covenants are non-binding with respect to Whinfield.

21.The rights of the parties under this Agreement can only be determined by
declaratory judgment.

22. All persons having an interest in the subject matter of this dispute have been
joined as parties to this action.

23. Whinfield seeks a declaration of his rights and the rights of CDI in connection

with these restrictive covenants contained within the Employment Agreement.

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WHEREPORE, the plaintiff claims:

1.

2.

in relation to Count One, damages for breach of the Employment Agreement;

in relation to Count Qne, attorney’s fees, costs and such other relief the Court
deems appropriate; n

in relation to Count Two, a full and formal accounting of revenue received by
CDI from the Lenoci cases, which is to include profit calculations as specified
herein;

in relation to Count Two, a judgment in favor of the plaintiff in the sum found to
be due to him on such accounting;

in relation to Count Two, prejudgment interest, attorney’s fees, punitive
damages and costs;

in relation to Count Three, a declaration that the restrictive covenants contained
within the Employment Agreement are overly broad and unenforceable;

in relation to Count Four, a declaration that the plaintiff cannot be bound to the
restrictive covenants within the Employment Agreement given the defendant’s

material breach of said agreement

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PLAINTIFF,
JOHN R. WHINFIELD

Byr %l/}’VLG@ M?@/LU

Jame . Green, Jr., Esq.
Jenni r E. Wheelock, Esq.
McElroy, Deutsch, Mulvaney &
Carpenter, LLP

One State Street, 14"‘Floor
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Pax No. 860-522-2796
jgreen@mdmc-law.com
jwheelock@rndmc-law.com
Juris No. 101812

 

EXHIBIT B

DOCKET NO.: HHD-CV- l 2-603 17 l 7-S

* JoHN R. wHINFIELD ) sUPERIoR COURT
' )
Piaintiff, ) JUDICIAL DISTRICT oF HARTFORD

- )

) AT HARTFoRD
)
v. )
)
. CAPITAS DISTRIBUTORS, INC. )_
)
)
)
)

) MAY 30, 2012

Defendant

NOTICE OF FILING NOTICE OF REMOVAL

To: Civil Clerk’s Of`fice 'James G. Green, Jr.

Superior Court ' Jennifer E. Wheelock

. Judicial District of Hartford McElroy, Deutsch, Mulvaney
at Hartford b t ' & Carpenter, LLP '
95 Washington Street _ One State Street,' 14th Floor
Hartford, CT 06106 Hartford, cr 06103

PLEASE TAKE NOTICE that this case,`previously pending in the Superior Court of n
Connecticut, Judicial District of Hartford at Hartford, has been removed by Defendant to the
United States District Court for the District of Connecticut. A copy of the Notice of Removal
that has been directed today to the United`States Court for the District of Connecticut is attached
hereto as E_xhibit A. This copy is filed with you as to effect such removal in accordance with 28

U.s.c. section 1146(<1).

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THE DEFENDANT,

CAPITAS DISTRIBUTORS, INC.

BY McCARTER & ENGLISH, LLP '
ITS ATTORNEYS _

By ,é”'°"
Pamel . Moore
Kelly Burns Gallagher
McCarter & English, LLP
CityPlace I
Hartford, CT 06103
Tel: (860) 275-6700
Fax: (860) 724-3397
Juris No. 419091

MEl l3489947v.l

CERTIFICATE OF SERVICE

This certifies that on this 30th day of May, 2012 a copy of the foregoing was mailed by
first class mail, postage prepaid, to:

James G. Green, Jr., Esq.

Jennifer E.- Wheelock, Esq.

McElroy, Deutsch, Mulvaney & Carpenter, LLP
One State Street, 14th Floor

Hartford, CT 06103

A copy of the foregoing has been sent via hand delivery, this 30th day of May, 2012 to: -

Clerk
, United States District Court
District of Connecticut
450 Main Street
Hartford, CT 06103

Kell@i{ms Gallagher - -'

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EFileConfirmation Page l of l

 

|nstructions: Additiona| information about this transaction is provided below. Use the browser’s print function to print a
copy of this Confirmation. Then, select the "Back to E-Fi|ing Menu" or "Logout".

     

Confirmation of E-Fi|ing

Docket Number: HHD-CV-12-6031717-S

Case Name: WHINF|ELD, JOHN v. CAPlTAL D\STR|BUTORS

Type of Transaction: Pleading/Motion/Other

Date Filed: May-30-2012

Motioanleading by: MCCARTER & ENGL|SH LLP Juris# 419091

Document Filed: NOT|CE OF REN|OVAL TO FEDERAL D|STR|CT COURT
Date and Time of Transaction: Wednesday, May 30, 2012 12:54:46 PM

 

https://efile.eservices.jud.ct.gov/motion/EFileConfirmation.aspx?Auth=2d63c3 dfecc$4df‘8... 5/3 0/2012

